         Case
EDWA 50 (3/18)   2:10-cr-06089-RMP   ECF No. 241      filed 09/25/20    PageID.1399 Page 1 of 1

                                  United States District Court
                                                                                               FILED IN THE
                                                                                           U.S. DISTRICT COURT
                                                 for the                             EASTERN DISTRICT OF WASHINGTON




                                   Eastern District of Washington                     Sep 25, 2020
                                                                                          SEAN F. MCAVOY, CLERK




                         REQUEST FOR OUT OF COUNTRY TRAVEL


Name of Offender: Octavio Alvarez Ruelas
Name of Supervising Judicial Officer: The Honorable Rosanna Malouf Peterson
Docket No: 2:10CR06089-RMP-1



                                     PETITIONING THE COURT

A supervision report was submitted to the Court providing information regarding the above offender’s
request to travel out of the county. The U.S. Probation Officer is seeking the Court’s approval for Octavio
Alvarez Ruelas to travel out of the country.


                                                 Respectfully submitted by,


                                                 s/Jose Zepeda                  09/25/2020
                                                 Jose Zepeda                       Date
                                                 Supervisory U.S. Probation Officer


                                        THE COURT ORDERS

Having reviewed the United States Probation/Pretrial Services Officer’s request for offender’s travel,
IT IS HEREBY ORDERED, THE COURT:

[ X] Approves travel request
[ ] Denies travel request
[ ] Other



                                                    Signature of Judicial Officer

                                                            9/25/2020
                                                     Date
